Case: 2:18-cv-00018-NAB Doc. #: 179 Filed: 10/20/20 Page: 1 of 1 PageID #: 1129




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                  NORTHERN DIVISION

ROBERT HOWLAND,                                   )
                                                  )
               Plaintiff,                         )
                                                  )
       v.                                         )           No. 2:18-CV-18 NAB
                                                  )
LANCE SMITH, et al.,                              )
                                                  )
               Defendants.                        )

                                MEMORANDUM AND ORDER

       This case was set for trial on October 19, 2020. Before jury selection began, the parties

informed the Court that they had settled this action.

       Accordingly,

       IT IS HEREBY ORDERED that the parties shall file a stipulation for dismissal, a motion

for leave to voluntarily dismiss, or a proposed consent judgment no later than November 9, 2020.

Failure to timely comply with this Order shall result in the dismissal of this action with prejudice.




                                                  NANNETTE A. BAKER
                                                  UNITED STATES MAGISTRATE JUDGE

Dated this 20th day of October, 2020.
